is immune from such relief. See 28 U.S.C. §1915(e) (2)(B), 28

U.S.C. §1915A.   In connection with this preliminary screening,

Cavitt's pro se Complaint is construed generously. Hughes v.

Rowe, 449 U.S. 5, 9 (1980); Haines v. Kerner, 404 U.S. 519, 520

(1972); Institute de Educacion Universal Corp. v. U.S. Dept. of

Education, 209 F.3d 18, 23 (1st Cir. 2000).

     2. Pursuant to 28 U.S.C. §1915(e) and 28 U.S.C. §1915A,

the Court dismisses the 28 U.S.C. § 1983 Claims (Counts

I, II, and III) in their entirety against the Massachusetts

Department of Corrections ("DOC") and official capacity monetary

claims against the remaining defendants under Eleventh Amendment

sovereign immunity.   The claims against the DOC for violation of

the Americans with Disabilities Act (Count IV) and

Rehabilitation Act (Count V) are not dismissed.   Section 1983

claims for prospective injunctive relief against the individual

defendants in their official capacities are not dismissed.

Individual personal capacity Section 1983 claims are not

dismissed.

     The Eleventh Amendment to the Constitution provides that

"[t]he Judicial power of the United States shall not be

construed to extend to any suit in law or equity, commenced or

prosecuted against one of the United States by Citizens of

another State, or by Citizens or Subjects of any Foreign State."

U.S. Const. amend. XI.   Under the Eleventh Amendment, "[s]tates
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and their agencies are entitled to sovereign immunity

'regardless of the relief sought.'"   Poirier v. Massachusetts

Dep't of Correction, 558 F.3d 92, 97 (1st Cir. 2009).      The First

Circuit has held that the Massachusetts Department of

Corrections, as a state agency, is entitled to immunity from

Section 1983 claims under the Eleventh Amendment.       Id. at 97.

     The Eleventh Amendment also extends to confer immunity from

suit upon state officials when "the State is the real

substantial party in interest," that is, when "the judgment

sought would expend itself on the public treasury . . . , or

interfere with the public administration            "    Pennhurst

State Sch. & Hosp., 465 U.S. at 101-102, n. 11; see Will v.

Michigan Dept. of State Police, 491 U.S. 58, 71 (1989) (although

state officials are literally persons, a suit against a state

official in his official capacity is not a suit against the

official but rather is a suit against the official's office)

accord Hafer v. Melo, 502 U.S. 21, 25 (1991) (same).

     3. The Clerk shall issue a summons for service of the

complaint on all defendants.   The Clerk shall send the

summonses, complaint, and this Order to Cavitt, who must

thereafter serve the defendants in accordance with Federal Rule

of Civil Procedure 4(m). Cavitt may elect to have service made

by the United States Marshals Service. If directed by Cavitt to

do so, the United States Marshals Service shall serve the
                                 j
summonses, complaint, and this Order upon the defendants, in the

manner directed by Cavitt, with all costs of service to be

advanced by the United States. Notwithstanding this Order to the

United States Marshal Service, it remains Cavitt's

responsibility to provide the United States Marshals Service

with all necessary paperwork and service information.

Notwithstanding Fed. R. Civ. P. 4(m) and Local Rule 4.1, the

plaintiff shall have 90 days from the date of this Order to

complete service.

     4. Cavitt's motion for appointment of pro bono counsel

pursuant to 28 U.S.C. §1915{e)(1), ECF No. 4 is hereby DENIED

without prejudice subject to refiling after the defendants are

served and respond to the complaint.   Although pursuant to the

28 U.S.C. §1915(e)(1), the Court "may request an attorney to

represent any person unable to afford counsel," it is well

settled that "[t]here is no absolute constitutional right to a

free lawyer in a civil case."   DesRosiers v. Moran, 949 F.2d 15,

23 (1st Cir. 1991).   The First Circuit has held that a court's

denial of a motion to appoint counsel is subject to reversal if:

(1) a plaintiff is indigent; and, (2) exceptional circumstances

exist such that the denial of counsel will result in a

fundamental unfairness impinging on his due process rights. Id.:

28 U.S.C. 1915(e)(1).   "To determine whether there are

exceptional circumstances sufficient to warrant the appointment
                                 4
